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                            IN THE UNITED STATED DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

   CHOOSE FRIENDSHIP, LLC,                         )
                                                   )
              Plaintiff,                           )
                                                   )
   vs.                                             )
                                                   )
   THE INDIVIDUALS,                                )
   CORPORATIONS,                                   )
                                                     Judge Lashonda A. Hunt
   LIMITED LIABILITY COMPANIES,                    )
   PARTNERSHIPS , AND                              )
   ININCORPORATED ASSOCIATIONS                     )    Case No. 23-cv-16571
   IDENTIFIED ON SCHEDULE A TO                     )
   THE
                                                   )
   COMPLAINT
         Defendants.                               )

   Plaintiff’s Motion to Appear Telephonically for the Hearing on the Motion to Extend
                       Deadline to Submit Amended Complaint with
                         Proposed and Agreed to Briefing Schedule

         Plaintiff, CHOOSE FRIENDSHIP, LLC, (“Choose Friendship”) hereby requests to

Appear Telephonically for Motion Calendar:

         1.   Plaintiff has filed its Contested Motion to Extend the Deadline to submit it’s

              Amended Complaint and the Agreed Proposed Briefing Schedule. DE 28.

         2. Pursuant to the Court’s Rules, Plaintiff has Noticed the Motion for Tuesday,

              March 5th at 10:00 a.m.

         3. Plaintiff’s counsel respectfully requests that the hearing Noticed for

              Presentment for March 5th be heard telephonically.

         WHEREFORE, Plaintiff respectfully requests that the Court grant it’s request to

appear remotely.
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DATED this 27th day of February, 2024.
                                            Respectfully submitted,

                                              /s/ Cory Jay Rosenbaum
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                                            LLC
